 Case: 5:21-mj-05047-MAS Doc #: 1-1 Filed: 02/01/21 Page: 1 of 11 - Page ID#: 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                          :
 UNITED STATES OF AMERICA                 :       Case No: ____________
                                          :
                                          :       18 U.S.C. §2
                                          :       (Aiding and Abetting)
                                          :
        v.                                :       18 U.S.C. §§ 1752(a)(1), 1752(a)(2)
                                          :       (Unlawful Entry)
 DALTON RAY CRASE                         :
                                          :       40 U.S.C. §§ 5104(e)(2)(D) and (G)
 AND                                      :       (Violent Entry or Disorderly Conduct)
                                          :
 TROY DYLAN WILLIAMS,                     :
                                          :
                Defendants.               :


 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

       I,                 first being duly sworn, hereby depose and state as follows:


                                    PURPOSE OF AFFIDAVIT


       1.      This Affidavit is submitted in support of a Criminal Complaint charging Dalton

Ray Crase (“CRASE) and Troy Dylan Williams (“WILLIAMS”) with violations of 18 U.S.C. §§

1752(a)(1), (a)(2) and (b)(1)(A) (Unlawful Entry), 40 U.S.C. § 5104(e)(2)(D) and 5104(e)(2)(G)

(Violent Entry or Disorderly Conduct) and 18 U.S.C. § 2(a), as identified below.

       2.      I respectfully submit that this Affidavit establishes probable cause to believe that

CRASE AND WILLIAMS, as a principal and an aider and abettor, violated:

       3.      18 U.S.C. § 1752(a)(1) and (2) by (1) knowingly enter or remain in any restricted

building or grounds without lawful authority to do; and (2) knowingly, and with intent to impede

or disrupt the orderly conduct of Government business or official functions, engage in disorderly
 Case: 5:21-mj-05047-MAS Doc #: 1-1 Filed: 02/01/21 Page: 2 of 11 - Page ID#: 3




or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or

so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or

official functions; For purposes of Section 1752 of Title 18, a “restricted building” includes a

posted, cordoned off, or otherwise restricted area of a building or grounds where the President or

other person protected by the Secret Service, including the Vice President, is or will be

temporarily visiting; or any building or grounds so restricted in conjunction with an event

designated as a special event of national significance; and

       4.      40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and

knowingly utter loud, threatening, or abusive language, or engage in disorderly or disruptive

conduct at any place in the Capitol Grounds or in any of the Capitol Buildings with the intent to

disrupt the orderly conduct of official business, and parade, demonstrate, or picket in any of the

Capitol Buildings.


                                  BACKGROUND OF AFFIANT


       5.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have

been so employed since 2019. Specifically, I am assigned to the Washington Field Office (WFO)

and am authorized by law or by a Government agency to engage in or supervise the prevention,

detention, investigation, or prosecution of a violation of Federal criminal laws. I am assisting in

the investigation and prosecution of events which occurred at the United States Capitol on

January 6, 2021.

       6.      The facts and information contained in this affidavit are based upon my personal

knowledge, information obtained from state and federal law enforcement officers, and

information provided by cooperating codefendants. All observations not personally made by me
 Case: 5:21-mj-05047-MAS Doc #: 1-1 Filed: 02/01/21 Page: 3 of 11 - Page ID#: 4




were relayed to me by the individuals who made them or are based on my review of reports,

documents, and other physical evidence obtained during the course of this investigation. This

affidavit is intended to show only that there is sufficient probable cause for the requested warrant

and does not set forth all of my knowledge about this matter. The dates listed in this Affidavit

should be read as “on or about” dates.


                   INCURSION AT THE U.S. CAPITOL ON JANUARY 6, 2021


       7.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol. On

January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members of the public.

       8.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

       9.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the
 Case: 5:21-mj-05047-MAS Doc #: 1-1 Filed: 02/01/21 Page: 4 of 11 - Page ID#: 5




U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to

keep the crowd away from the Capitol building and the proceedings underway inside.

        10.     At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        11.     At such time, the certification proceedings still underway and the exterior doors

and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol

Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

        12.     Shortly thereafter, at approximately 2:20 p.m. members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
 Case: 5:21-mj-05047-MAS Doc #: 1-1 Filed: 02/01/21 Page: 5 of 11 - Page ID#: 6




and the building had been confirmed secured. The proceedings resumed at approximately 8:00

pm after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

       13.     During national news coverage of the aforementioned events, video footage

which appeared to be captured on mobile devices of persons present on the scene depicted

evidence of violations of local and federal law, including scores of individuals inside the U.S.

Capitol building without authority to be there.


                                      INTERVIEW OF W1


       14.     On January 11, 2021, the FBI received information concerning Witness 1 (“W1”),

who reportedly entered the U.S. Capitol building on 01/06/2021. The complainant posted a

screen shot of W1’s Facebook page which contained messages indicating he had entered the U.S.

Capitol building.

       15.     On January 12, 2021, W1 was interviewed by the FBI. During the interview, W1

admitted to traveling to Washington D.C. with two other individuals, Dalton Ray CRASE

(“CRASE”) and Troy Dylan WILLIAMS (“WILLIAMS”). W1 indicated that the three traveled

together by car and arrived in the Washington D.C. area shortly after midnight on January 6,

2021. They reserved one room at the Holiday Inn National Airport in Arlington, Virginia.

During the drive to Washington D.C., W1 became ill, which prevented him from attending any

of the events in Washington D.C. on January 6, 2021. W1 told the FBI that he had

misrepresented his presence at the U.S. Capitol. W1 provided hospital records that showed he

was temporarily hospitalized due to his illness near in time to the incident. W1 stated that he

was aware, based on conversations he had with CRASE and WILLIAMS, that both attended
 Case: 5:21-mj-05047-MAS Doc #: 1-1 Filed: 02/01/21 Page: 6 of 11 - Page ID#: 7




President Trump’s speech at the Washington Monument and both walked to the U.S. Capitol.

According to W1, as far as he was aware, neither CRASE nor WILLIAMS went inside the U.S.

Capitol building.


              ACTIONS OF CRASE AND WILLIAMS ON JANUARY 6, 2021


       16.     On January 14, 2021, CRASE, was interviewed by the FBI at the FBI Lexington

Resident Agency in Kentucky. During the interview, CRASE admitted to traveling to

Washington D.C. with W1 and WILLIAMS. CRASE confirmed that W1 got sick before the

rally and stayed at the hotel. According to CRASE, on the morning of January 6, 2021, CRASE

arrived in the area of the Washington Monument around 11:30 am and listened to the end of

President Trump’s speech. CRASE met up with WILLIAMS at a nearby intersection and the

two walked with a large crowd to the U.S. Capitol. According to CRASE, as the two approached

the U.S. Capitol grounds, CRASE observed several barricades which had been knocked over and

were laying on the ground. The two continued to walk but did not observe any police stopping

people from getting closer to the building.

       17.     According to CRASE, CRASE and WILLIAMS both entered the U.S. Capitol

building with several other people after the riots started. According to CRASE, he did not take

part in any violence and/or vandalism while inside the building. CRASE provided the FBI with

photographs and videos he took on January 6, 2021, two of which were photographs CRASE had

taken of himself inside the Capitol building.

       18.     The photographs provided by CRASE, which contain images of CRASE, show

him to have been inside the Capitol building during the riot:
 Case: 5:21-mj-05047-MAS Doc #: 1-1 Filed: 02/01/21 Page: 7 of 11 - Page ID#: 8




       19.     During the FBI interview, CRASE made the following additional statements to

interviewing Agents:


               -   “Even though we didn’t participate in violence, I think it was dumb that we
                   went in.”

               -   “I was breaking the law by being in the Capitol building but it didn’t register
                   with me.”

               -   “Even me, I didn’t do anything violent, but I went into the building, so I did
                   trespass.”

       20.     On January 18, 2021, WILLIAMS was interviewed by the FBI at the FBI

Lexington Resident Agency in Kentucky. WILLIAMS also admitted that he attended the Stop

the Steal Rally in Washington, D.C. on January 6, and that he joined the group protest to the U.S.

Capitol. WILLIAMS admitted to observing persons push their way into the U.S. Capitol, and

that both he and CRASE went inside the U.S. Capitol building after it was breached by the

crowd. WILLIAMS stated he had no intentions of entering the Capitol building until everyone

went inside, further describing it as a “herd mentality”. According to WILLIAMS, both he and

CRASE both entered the Capitol building two times, the first time at or about 2:39 pm.

WILLIAMS referenced a video he had taken while he was inside the first time which had a time
 Case: 5:21-mj-05047-MAS Doc #: 1-1 Filed: 02/01/21 Page: 8 of 11 - Page ID#: 9




stamp at or about 2:39 pm. The interviewing Agents observed the video in question, and heard

on the recording WILLIAMS talk to CRASE as they were entering. WILLIAMS told the Agents

that he stated to CRASE, “If these people start fighting the cops and getting crazy, we’re

leaving.” According to the WILLIAMS, CRASE and WILLIAMS exited for a short time

thereafter, only to return back inside at or about 3:08 pm. Again, WILLIAMS referenced a video

he had taken while being inside the Capitol building the second time that had a time stamp of

3:08 pm.

       21.     WILLIAMS was asked by interviewing Agents if he ever felt he was doing

anything wrong by being inside. WILLIAMS responded, “To a degree”, and “I wasn’t doing

anything wrong or inciteful”, and “We were a part of something, there’s cops here, they tried to

stop us, they are not letting us in, but not fighting us”. WILLIAMS also recalled talking to two

elderly gentlemen outside of the Capitol building who said they were not going inside because it

would be a felony. When WILLIAMS heard this, he thought to himself that they were probably

right. WILLIAMS also told the FBI that he rationalized with himself at one point asking himself

what the legal way would be to get into the Capitol building. CRASE also said that if he was

ever allowed back, he would get a “pass” the next time.

       22.     WILLIAMS voluntarily provided the FBI with multiple photographs and videos

he recorded on January 6, 2021. The majority of these photographs and videos were provided to

the FBI on a thumb drive, which originated from WILLIAMS’ camera. WILLIAMS also

provided the FBI with photographs from his phone, two of which show WILLIAMS standing

just outside one of the entrances to the Capitol building. A review of some of the videos and

photographs provided by WILLIAMS confirm CRASE had entered the U.S. Capitol building on
Case: 5:21-mj-05047-MAS Doc #: 1-1 Filed: 02/01/21 Page: 9 of 11 - Page ID#: 10




January 6, 2021. The photos include the following other images of CRASE inside the U.S.

Capitol building:




       23.     Your affiant has also reviewed other photographs provided by WILLIAMS,

which is on the U.S. Capitol Grounds, inside the cordoned off area on the grounds, but just

outside an entrance to the Capitol Building. They are as follows:




24.    Your affiant has also reviewed closed circuit television (CCTV) footage from inside the

U.S. Capitol building on January 6, 2021, provided by the United States Capitol Police. The
Case: 5:21-mj-05047-MAS Doc #: 1-1 Filed: 02/01/21 Page: 10 of 11 - Page ID#: 11




footage shows two persons matching the images shown above of CRASE and WILLIAMS,

entering the building as part of a crowd of people at approximately 3:08 pm, appearing to take

several photos, and then continuing down a hallway further into the building.


                                           CONCLUSION

       24.     Based on the foregoing, your affiant submits that there is probable cause to believe

that CRASE and WILLIAMS violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to

(1) knowingly enter or remain in any restricted building or grounds without lawful authority to do;

and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government

business or official functions, engage in disorderly or disruptive conduct in, or within such

proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or

disrupts the orderly conduct of Government business or official functions; or attempts or conspires

to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,

cordoned off, or otherwise restricted area of a building or grounds where the President or other

person protected by the Secret Service, including the Vice President, is or will be temporarily

visiting; or any building or grounds so restricted in conjunction with an event designated as a

special event of national significance.

       25.     Your affiant also submits there is also probable cause to believe that CRASE and

WILLIAMS violated 40 U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly

(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at

any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or

disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly

conduct in that building of a hearing before, or any deliberations of, a committee of Congress or

either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
Case: 5:21-mj-05047-MAS Doc #: 1-1 Filed: 02/01/21 Page: 11 of 11 - Page ID#: 12




                                                   :Special Agent
                                                   FBI

Attested to by the applicant in accordance with the requirements ofFed. R. Crim. P. 4.1 by
telephone, this 28 th day of January 2021.
                                                                          2021.01.28
                                                                          21:40:25 -05'00'
                                                   ZIA M. FARUQUI
                                                    U.S. MAGISTRATE
                                                   JUDGE
